        Case 1:24-cv-00066-AKB Document 10 Filed 02/09/24 Page 1 of 2




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Attorneys for Plaintiff Thomas Eugene Creech

                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF IDAHO

 THOMAS EUGENE CREECH,                   )       CASE NO. 1:24-cv-00066-AKB
                                         )
               Plaintiff,                )
 v.                                      )       MOTION TO EXPEDITE
                                         )       DISCOVERY
 IDAHO COMMISSION OF PARDONS )
 AND PAROLE; JAN M. BENNETTS, )
 Ada County Prosecuting Attorney, in her )       EXECUTION SCHEDULED
 official capacity,                      )       FOR FEBRUARY 28, 2024
                                         )
               Defendants.               )


      Plaintiff Thomas Eugene Creech respectfully moves to expedite discovery for

the reasons stated, and under the conditions described, in the accompanying

memorandum.

      DATED this 9th day of February 2024.

                               /s/ Christopher M. Sanchez
                               Christopher M. Sanchez
                               Jonah J. Horwitz
                               Federal Defender Services of Idaho

                               Attorneys for Plaintiff Thomas Eugene Creech

Motion to Expedite Discovery – Page 1
        Case 1:24-cv-00066-AKB Document 10 Filed 02/09/24 Page 2 of 2




                           CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of February 2024, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which is designed to send a Notice of Electronic Filing to persons including the
following:

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                                        /s/ Julie Hill
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Motion to Expedite Discovery – Page 2
